






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-05-411 CR


____________________



LESSELL LEVI HINTON, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 81827






MEMORANDUM OPINION


	Lessell Levi Hinton was convicted and sentenced on an indictment for aggravated
robbery.  Hinton filed a notice of appeal on September 12, 2005.  The trial court entered
a certification of the defendant's right to appeal in which the court certified that this is a
plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by the
district clerk.

	On September 14, 2005, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The parties have not
identified any issues unrelated to the appellant's conviction and the record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								___________________________

								       DAVID GAULTNEY

										Justice


Opinion Delivered November 16, 2005

Do Not Publish

Before McKeithen, C.J., Gaultney and Kreger, JJ.


